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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



  Jessica Hogan, et al.,

          On behalf of herself and those         Case No. 2:15-cv-2883
          similarly situated,
                                                 Chief Judge Marbley

                     Plaintiffs,                 Magistrate Judge Deavers

          v.

  Cleveland Ave Restaurant, Inc. (d/b/a
  Sirens), et al.,

                     Defendants.




   PLAINTIFFS’ RESPONSE TO “DEFENDANTS’ MOTION FOR EXTENSION OF
    TIME TO COMPLY WITH ORDERS TO PRODUCE IN DOCS #423 AND #437”




         In its order dated August 2, 2023 (ECF No. 423), the Court ordered the Cheeks,

 Private Dancer, Fantasyland West, and House of Babes Defendants to produce in

 redacted form with pseudonym numbers each club’s respective Lease Agreements and

 “end-of-night sheets” since May 20, 2014. Id. at 7. The Court stated that in her earlier

 order “the Magistrate Judge noted that Defendants already offered to produce the subject

 documents” with PII redacted. Id. at 1-2.
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        Subsequently, in its order dated September 6, 2014 (ECF No. 437), the Court

 ordered Defendants “to provide to Plaintiffs within FOURTEEN (14) DAYS of this

 Opinion and Order, an electronic file containing the putative class members’ legal first

 names, last-known email addresses, and dates of employment since September 26, 2019.”

 Id. at 27-28 (emphasis in original). The information in this electronic file is to be

 unredacted.

        On the afternoon of the 14th day after the Court’s September 6 order, the deadline

 for Defendants to provide this electronic file to Plaintiffs, Anthony Cicero, who is counsel

 of record for the Cheeks, House of Babes, Top Hat, and Fantasyland West Defendants,

 sent Plaintiffs’ counsel an email, copying Bill Klausman, who is counsel of record for the

 Private Dancer Defendants. See Exhibit A. Mr. Cicero’s email stated:

        I’m copying in Bill because he and I discussed filing objections to the 10/6
        decision. I do not think we will, but we need additional time to comply with
        the Magistrate’s Order. Are you OK with 21 days? I’m not sure that will be
        enough, but it’s a good start. Bill needs time to look to see if he has email
        addresses, I need to do that with some of my clients, and also need time to
        put together complete lists for the clubs that have email addresses. I have a
        list done for Cheeks from the data I have, but it doesn’t cover the entire time
        period….

 Exhibit A, pp. 1-2. Mr. Cicero’s email also stated:

        In regard to the Judge’s Order from 8/2, I will give you what I have redacted
        from Cheeks, which is everything I previously told you about. I should
        know soon if they have more, but I do not know about the other clubs yet….

 Id. at 2. Mr. Cicero then asked if Plaintiffs’ counsel would like to receive the redacted

 Cheeks documents via electronic means or a mailed flash drive.
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         Plaintiffs’ counsel responded to Mr. Cicero’s email in an email addressed to both

 Mr. Cicero and Mr. Klausman. Id. at 1. After stating, “Mailing me flash drives is fine,”

 and making sure Mr. Cicero used the correct mailing address, Plaintiffs’ counsel stated:

         We're eager to receive what the Court ordered your clients to produce to us
         in both the August 2 order and the September 6 order. So far, as you know,
         we have received nothing from your clients in response to those two orders.
         The August 2 order set a deadline of September 1, and the September 6
         order set a deadline of today, September 20. Because these were court-
         ordered deadlines, we're uncomfortable granting extensions on our own,
         so you will need to move for any extensions you need to fulfill these orders.
         Given that the information your clients need to comply with the September
         6 order should be contained in the clubs' Lease Agreements, we think 21
         additional days is excessive. Our position (which would be contained in our
         response to your motions) is that we believe 21 days in addition to the 14
         days already allowed is excessive but that if you each ask for an additional
         14 days to comply with the September 6 order, plaintiffs would not object
         to the 14-day extension as long as we receive the required lists by the
         extended deadline (as opposed to being given reasons why your clients
         cannot or should not have to produce them) and as long as we receive by
         the same deadline the documents that the Court ordered your clients to
         produce by September 1.

 Id. at 1.

         After asking if Plaintiffs’ counsel are “OK with 21 days” and receiving the

 response that while “we think 21 days is excessive,” Plaintiffs would not object to “an

 additional 14 days to comply with the September 6 order” if by that extended deadline

 Defendants complied with both the September 6 and August 2 orders, Mr. Cicero filed

 an extension motion apparently on behalf of only three sets of club Defendants—Cheeks,

 Fantasyland West, and House of Babes. ECF No. 440. In it, he asks for an additional 30



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 days to comply with both orders, calling the process for complying “all around time-

 burglary.” Id. at 2, PAGE ID #5450.

        This situation has raised several issues. First, it appears Mr. Cicero has not timely

 moved for any extension of either deadline—September 1 (ECF No. 423 at 7) or September

 20 (ECF No. 437 at 27-28)—on behalf of his other clients, the Top Hat Defendants. Nor

 has Mr. Klausman timely moved for any extension of either deadline on behalf of his

 clients, the Private Dancer Defendants. Because those Defendants are now beyond the 14-

 day deadline specified in the September 6 order (i.e., September 20) and the Private

 Dancer Defendants are now well beyond the 30-day deadline specified in the August 2

 order (i.e., September 1), any extension motions filed on their behalf now or hereafter

 would be subject to Rule 6(b)(1) of the Federal Rules of Civil Procedure, requiring a

 showing of “excusable neglect.” See Rule 6(b)(1)(A) & (B) (“When an act may or must be

 done within a specified time, the court may, for good cause, extend the time: (A) with or

 without motion or notice if the court acts, or if a request is made, before the original time

 or its extension expires; or (B) on motion made after the time has expired if the party

 failed to act because of excusable neglect.”); see also Lujan v. National Wildlife Federation,

 497 U.S. 871, 896–98 (1990) (“[A]lthough extensions before expiration of the time period

 may be ‘with or without motion or notice,’ any post deadline extension must be ‘upon

 motion made,’ and is permissible only where the failure to meet the deadline ‘was the

 result of excusable neglect.’” (emphasis in original)). Given that Mr. Cicero’s email


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 appears to acknowledge that neither he nor Mr. Klausman had checked yet to see if all

 their clients even have the “email addresses” required by the September 6 order, that

 lapse would rule out a showing of “excusable neglect” as to the Top Hat Defendants, the

 House of Babes Defendants, the Fantasyland West Defendants, and the Private Dancer

 Defendants.

        Second, Local Rule 7.2(a) states, “Prior to filing any motion for an extension of

 time, counsel shall consult with all parties (except prisoners appearing pro se) whose

 interests might be affected by the granting of such relief and solicit their consent to the

 extension.” In his email, Mr. Cicero did not solicit consent from Plaintiffs’ counsel to the

 extension that he actually requests in his motion, i.e., an additional 30 days to comply

 with both the August 2 order and the September 6 order. Rather, he only asked if

 Plaintiffs’ counsel were “OK with 21 days” more for his clients to comply with the

 September 6 order.1 This is inconsistent with Local Rule 7.2(a).

        Third, the extension motion attempts to leverage more time to comply with the

 September 6 order by stressing the need for more time to comply with the August 2 order,

 given the redaction requirement. But complying with the September 6 order did not

 depend on redacting any documents or producing information in redacted form. It




 1
  Although Mr. Cicero in his September 20 email to Plaintiffs’ counsel (Exhibit A, pp. 1-2)
 mistakenly referred to it as “the 10/6 decision” and “the Magistrate’s Order,” it was clear
 from his repeated references to “email addresses” (id. at 2) that he was talking about the
 September 6 Order.
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 merely required Defendants to create “an electronic file containing the putative class

 members’ legal first names, last-known email addresses, and dates of employment since

 September 26, 2019.” ECF No. 437 at 27-28. This does not call for a huge document review,

 redaction, scanning, and production. Rather, it entails Defendants’ counsel creating and

 producing a simple three-column spreadsheet in which the dancer’s legal first name

 appears in the first column, her last-known email address appears in the second column,

 and the dates of her post-9/26/19 employment appear in the third column. It is pure

 hyperbole for Defendants’ counsel to pretend that this process constitutes “all around

 time-burglary” and that they need 30 additional days on top of the 14 days the Court

 already gave them to create this simple spreadsheet. Had Defendants begun this task

 promptly, they easily could have completed it within the 14 days originally allowed. It is

 apparent from Mr. Cicero’s statements in his September 20 email to Plaintiffs’ counsel

 (Exhibit A)—e.g., “Bill needs time to look to see if he has email addresses, I need to do

 that with some of my clients, and also need time to put together complete lists for the

 clubs that have email addresses,” id. at 2—that Defendants have done little or nothing to

 compile the requisite “electronic file” since the September 6 order. Such non-compliance

 should not be rewarded with an extension that’s more than twice as long as the time that

 Defendants originally were given and have apparently frittered away.

       Fourth, Mr. Cicero’s motion seeks additional time for his clients to comply not just

 with the September 6 order but also with the August 2 order, the deadline of which


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 passed three weeks ago without any compliance by Defendants. Because his extension

 motion was filed well beyond the September 1 deadline set forth in the August 2 order,

 it likewise is subject to the “excusable neglect” requirement of Rule 6(b)(1)(B) as to all the

 moving parties. Although his extension motion characterizes the process for complying

 with the Court’s orders as “all around time-burglary,” ECF No. 440 at 2, PAGE ID #5450,

 the motion only addresses Mr. Cicero’s efforts to secure and produce in redacted form

 the Cheeks Defendants’ Lease Agreements and “end-of-night sheets.” Moreover, as to

 the August 2 order, Mr. Cicero admitted in the email he sent Plaintiffs’ counsel earlier in

 the same day he filed his extension motion that he has compiled some compliant

 documents from Cheeks and is ready to produce them, that he “should know soon if they

 have more,” and that he does “not know about the other clubs yet.” Exhibit A at 2. In this

 context, demonstrating “excusable neglect” depends on balancing the five so-called

 Pioneer factors: (1) the danger of prejudice to the opposing party, (2) the length of the

 delay and its potential impact on judicial proceedings, (3) the reason for the delay, (4)

 whether the delay was within the reasonable control of the party requesting an extension,

 and (5) whether the late-filing party acted in good faith. Nafziger v. McDermott Int'l, Inc.,

 467 F.3d 514, 522 (6th Cir. 2006) (citing Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd.

 P'ship, 507 U.S. 380, 395 (1993)). Mr. Cicero admits in his September 20 email to Plaintiffs’

 counsel (Exhibit A) that, as to his clients other than Cheeks, he does “not know about”

 the Lease Agreements and “end-of-night sheets” that the Court ordered them to produce


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 in redacted form 51 days ago and no later than September 1. This admission rules out a

 finding of “excusable neglect” as to those Defendants under the Pioneer factors. And as

 to the Cheeks Defendants, it is ironic that, 18 months after initially arguing that they

 should be allowed to produce the requested documents with PII removed, the Cheeks

 Defendants now claim that removing PII from these documents constitutes “all around

 time-burglary.”

       Fifth, Mr. Cicero hints in his extension motion that Cheeks may be the only

 defendant that even has any Lease Agreements or “end-of-night sheets” to produce in

 redacted form in response to the Court’s August 2 order. ECF No. 440 at 2, PAGE ID

 #5450. If true, this would be a stark departure from what Defendants conveyed to the

 Magistrate Judge as recounted by her in the Denial Order (ECF No. 411 at 7) and by Your

 Honor in the August 2 order—i.e., Defendants’ readiness to produce the Lease

 Agreements and “end-of-night sheets” without the PII. ECF No. 423 at 1-2. To say the

 least, it would be inappropriate for Defendants at this late date—after they resisted

 surrendering those documents for almost two years based on dancers’ privacy interests—

 to say now that those documents do not exist.

       Plaintiffs respectfully submit that if, despite the problems with the extension

 motion as noted above, the Court is inclined to grant Defendants additional time to

 comply with its August 2 and September 6 orders, Defendants should be required to

 produce by such extended deadline what the Court mandated that they produce in its


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 September 6 order (ECF No. 437 at 28: “an electronic file containing the putative class

 members’ legal first names, last-known email addresses, and dates of employment since

 September 26, 2019”) and in its August 2 order (ECF No. 423 at 7: “redacted versions of

 the following documents: (i) copies of all Lease Agreements that were executed by any

 dancer who performed at Cheeks, Private Dancer, Fantasyland West, and House of Babes

 from May 20, 2014, to the present; and (ii) copies of all ‘end-of-night sheets,’ defined as

 ‘sheets, slips, or other documents on which were recorded the identities of the dancers

 who performed at these clubs from May 20, 2014 to the present, and other related

 information.’ (ECF No. 411 at 1–2). The redacted documents shall replace each

 individual’s PII with pseudonym numbers.”). Lost in Defendants’ complaint about the

 “all around time-burglary” of complying with the Court’s August 2 and September 6

 orders is the fact that Defendants, unselfconsciously, are in violation of both court orders.

 If Defendants are to be given leeway to comply belatedly, Plaintiffs respectfully ask that

 the deadline be extended no more than 14 days and that it be Defendants’ firm deadline

 to comply fully with the requirements of both orders, not just another opportunity for

 them to continue complaining about having to comply with these orders or one last

 chance to raise arguments why they should not have to comply.

                                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that this motion was filed electronically on
 September 21, 2023, causing notice of this filing to be sent to all parties by operation of
 the Court’s electronic filing system.



                                           /s/ Paul M. De Marco




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